                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

 TAURIS LEBRON SLEDGE,                        )
                                              )
                 Plaintiff,                   )
                                              )
 v.                                           )        No.:   1:23-cv-00214-TAV-CHS
                                              )
 HAMILTON COUNTY GOVERNMENT, )
 HAMILTON COUNTY SHERIFF’S                    )
 DEPARTMENT,                                  )
 SHERIFF AUSTIN GARRETT, Hamilton )
 County Sherriff, in his official capacity,   )
 SHERIFF AUSTIN GARRETT, Hamilton )
 County Sherriff, in his individual capacity, )
 TYLER MCRAE,                                 )
 in his official capacity, and                )
 TYLER MCRAE,                                 )
 in his individual capacity,                  )
                                              )
                 Defendants.                  )

                                           ORDER

        Before the Court is the parties’ Joint Motion to Stay Proceedings [Doc. 16], wherein

 they request that this civil matter be stayed pending the resolution of plaintiff’s underlying

 state criminal case.

        District courts have broad discretion to stay a civil action due to a pending, related

 criminal indictment or investigation. See United States v. Kordel, 397 U.S. 1, 12 n.27

 (1970); see also Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court has broad

 discretion to stay proceedings as an incident to its power to control its own docket.”). Stays

 are generally granted under these circumstances out of concern that the civil proceeding, if

 not delayed, “might undermine the party’s Fifth Amendment privilege against




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 self-incrimination, expand rights of criminal discovery beyond the limits of Federal Rule

 of Criminal Procedure 16(b), expose the basis of the defense to the prosecution in advance

 of criminal trial, or otherwise prejudice the case.” Sec. & Exch. Comm’n v. Dresser Indus.,

 Inc., 628 F.2d 1368, 1376 (D.C. Cir. 1980).

        In the interest of judicial efficiency, as well as to protect plaintiff’s Fifth

 Amendment rights, the joint motion [Doc. 16] is GRANTED, and this matter is hereby

 STAYED. The parties are ORDERED to file a joint status report specifically detailing

 the status of the related criminal case and whether the stay should remain in effect every

 ninety (90) days. When the criminal matter is resolved, the parties are ORDERED to

 notify the Court within ten (10) days of such resolution, at which time the Court will lift

 the stay.

        IT IS SO ORDERED.

                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE




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